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                                                              October 30, 2020
BY ECF

Hon. Judge John P. Cronan
United States District Court
Southern District of New York
500 Pearl Street – Room 1320                                                            11/02/2020
New York, NY 10007

       Re:     GateGuard, Inc. v. MVI Systems LLC (19-cv-2472)
               Request re: the Court’s Reassignment Order (Dkt. #116)

Dear Judge Cronan,

I represent the two original Defendants in the above-referenced action, MVI Systems and Samuel
Taub, and am joined in this letter by counsel for the other Defendant, MVI Industries.

On behalf of the Defendants, I hereby request a one-week extension, to November 6, of the
parties’ mutual obligation to file the joint letter described in the Court Reassignment Order (Dkt.
#116). While we have not received a draft or proposal from the Plaintiff regarding the joint
letter, counsel for the parties will be engaging in a meet and confer process early next week
regarding discovery and other scheduling matters, and the Defendants believe the Plaintiff will
consent to the requested extension.

The bases for our request are: (1) the parties have a joint discovery report due to Judge Freeman
that we would like to coordinate with the joint letter to Your Honor (2) the Defendants are filing
a motion early next week that relates to the Defendants’ recently filed motions to compel
arbitration and/or dismiss on substantive grounds, and we believe it will be helpful to the Court if
that motion is included and described in the parties’ joint letter and (3) the joint letter will
otherwise benefit from the parties engaging in their scheduled meet and confer session(s) early
next week and having the results thereof reflected in their joint letter.

                                                      Respectfully Submitted,


                                                      Adam E. Engel

                                                      Counsel for Defendants
                                                      MVI Systems and Samuel Taub
                                             Defendants' request is GRANTED. The joint status letter that was due
Cc:    All Counsel of Record by ECF
                                             October 29, 2020 is now due November 6, 2020. The Court again directs
                                             counsel to 3.B of the Court's Individual Rules and respectfully reminds
                                             counsel to make timely requests for extensions in the future.
                                              SO ORDERED.
                                                                                ___________________________
                                              Date: October 31, 2020
                                                                                JOHN P. CRONAN
                                                    New York, New York          United States District Judge
